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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv.
Case No: 21-CR-349 TJK

JEFFREY REGISTER
Defendant.
STIPULATION

The United States of America, by and through William Dreher, Assistant United States
Attorney, and the Defendant, Jeffrey Register, and his attorney, Cara Halverson, hereby agree
and stipulate as follows.

1. Exhibit A to the Government’s sentencing memorandum is a report authored by
FBI Task Force Officer Brian Rothermel regarding an interview of the defendant, Jeffrey
Register, that occurred on February 24, 2021. Former FBI Task Force Officer Thomas C.
Colalillo was also present during the interview.

2. If one of the officers present during the interview testified at Mr. Register’s
sentencing hearing, he would testify that Register made the following statements during the
interview on February 24, 2021: “REGISTER was aware that Congress was in session and that
they were in the process of certifying the vote. REGISTER felt as though his presence at the
Capitol would help affect Congress's decision. REGISTER wished that they were actually able
to make it into the House chamber during the certifying process to show their support for
President Trump.”

3. Mr. Register believes that the language in Paragraph 2 does not accurately reflect

the actual statements made by Mr. Register during the interview on February 24, 2021, and

 
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reserves the fight.to make'that argument.
4, The patties‘ate free at sentencing to refer to other.statemments of Mr, Register’s

contained in Exhibit A to the. government’s séntericing memorandum.

Respectfully submitted,

MATTHEW D, GRAVES.
Acting United-States -Attorhey
D.C. Bar No. 481.052.

Date: _| ’ By: {I lee (Df

WILMAM DREHER
D.C. Bar No. 1033828
Assistant United States. Attorney (Detailed).

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‘Date: _ 1/18/22 By: Cant: Nabsorsan
 GARA HALVERSON
Attorney for Defendant

 

 

 
